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                  IN THE UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                           : CHAPTER 13
DAVID M. BRACEY                                  :
           Debtor                                : NO. 19-10789-amc

                                         ORDER

      Upon consideration of the Application for Compensation and Reimbursement of
Expenses for John M. Kenney, Esquire, counsel for the Debtor (the "Application"), and
upon Counsel for Debtor's request to retain jurisdiction at the Motion to Dismiss hearing
on January 21, 2020, IT IS ORDERED THAT:

      1.     The case is dismissed.

      2.     Pursuant to 11 U.S.C. §349(b)(3), the undistributed, pre-confirmation
             chapter 13 plan payments held by the chapter 13 trustee shall not revest
             in the Debtor or any other entity pending further order of this court.

      3.                                 February 11, 2010
             A hearing shall be held on ____________________     11:00 a.m. in
                                                              at _________
             Bankruptcy Courtroom No. 4, U.S. Courthouse, 901 Market Street,
             Philadelphia, PA to consider the Application.

      4.     Any other party who asserts an entitlement to the allowance of an
             administrative expense pursuant to 11 U.S.C §503(b) shall file its request
             with the court and serve all creditors in accordance with the applicable
             rules of court no later than five (5) days before the hearing date set forth in
             Paragraph 3 above.

      5.     Counsel for Debtor shall serve a copy of this Order on all creditors and
             interested parties and file a Certification of Service on or before _______
              February 4, 2020
             ____________________________.


Date: January 23, 2020                                                               ____
                                                 HONORABLE ASHELY M. CHAN
                                                 United States Bankruptcy Judge
cc:   John M. Kenney, Esquire
      308 N. Oxford Valley Road
      Fairless Hills, PA 19030
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      David M. Bracey
      275 Frost Lane
      Newtown, PA 18940

      William C. Miller, Esquire
      Chapter 13 Standing Trustee
      P.O. Box 1229
      Philadelphia, PA 19105
